Case 2:10-cv-00167-MSD-TEM Document 80 Filed 10/14/11 Page 1 of 3 PageID# 1445


                                                                                         FILED
                                                                                     IN OPUN COURT.


                       IN THE UNITED STATES DISTRICT COURT
                                                                                     OCT 1 4 2011
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division                         .
                                                                              CLERK U.S. DISTRICI COURT
                                                                                      NORFOLK. VA
 FELICIA D. TENNESSEE,


               Plaintiff,

 v.                                                  Civil Action No.: 2:10cvl67 MSD/FBS


 MURPHY-BROWN, L.L.C.,


               Defendant.



                                        VERDICT FORM
                                          (Harassment)


        1.     Do you find, unanimously and by a preponderance of the evidence, that Ms.

 Tennessee suffered from harassment based on her sex while employed by Murphy-Brown?

               Answer Yes or No             icS

        [Note: If you answered "No" to Question No. 1, you should not answer the

 remaining questions on sexual harassment. Your verdict will be for the defendant, and

 you should sign and date this form.]

        2.      Do you find, unanimously and by a preponderance of the evidence, that any

 harassment Ms. Tennessee suffered was so severe or pervasive that it actually altered the

 conditions of her employment and created an abusive atmosphere?

                Answer Yes or No           /£S

        [Note: If you answered "No" to Question No. 2, you should not answer the

 remaining questions on sexual harassment. Your verdict will be for the defendant, and


 you should sign and date this form.]
Case 2:10-cv-00167-MSD-TEM Document 80 Filed 10/14/11 Page 2 of 3 PageID# 1446




       3.      Do you find, unanimously and by a preponderance of the evidence, that

what Ms. Tennessee experienced was so severe or pervasive that a reasonable woman in

Ms. Tennessee's position would have believed that it actually altered the conditions of

her employment and created an abusive atmosphere?

               Answer Yes or No


        [Note: If you answered "No" to Question No. 3, you should not answer the

remaining questions on sexual harassment. Your verdict will be for the defendant, and

you should sign and date this form.]

        4.     Do you find, unanimously and by a preponderance of the evidence, that Murphy

 Brown took prompt and effective remedial action after Ms. Tennessee complained of

harassment?


               Answer Yes or No               M>
        [Note: If you answered "Yes" to Question No. 4, you should not answer the

 remaining questions on sexual harassment. Your verdict will be for the defendant, and

 you should sign and date this form.]

        If and only if you have answered questions 1,2, and 3 "yes" and question 4 "no,"

 you should proceed to the following question.

        5.      Do you find, unanimously and by a preponderance of the evidence, that Ms.

 Tennessee has proved that she suffered injury from the incident of sexual harassment she claims,

 but not including any loss of income?

                Answer Yes or No             TcS

                If your answer is "Yes,"
                In what amount?          $   3o_OQ0
Case 2:10-cv-00167-MSD-TEM Document 80 Filed 10/14/11 Page 3 of 3 PageID# 1447




            SO SAY WE ALL.                          REDACTED COPY


                                    Foreperson



                                    DATED:       J H OcboQw
